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UNITED STATES DISTRICT COURT
DISTRICT OF COLUMBIA
--------------------------------------------------------------------X
UNITED STATES OF AMERICA,                                             23-163

                                                                        MOTION TO
                 - against -                                            MODIFY CONDITIONS
                                                                        OF RELEASE
JON LIZAK,

                                    Defendant.
--------------------------------------------------------------------X

        KEVIN J. KEATING, an attorney duly admitted to the practice of law affirms as follows:

        1.       I am attorney for Jon Lizak and, thus, fully familiar with the facts and circumstances

of this case. This affirmation is submitted in furtherance of the instant motion to modify Lizak’s

conditions of release.

        2.        Lizak is 23 years old and without any criminal history. He was originally arraigned

in this matter on September 22, 2022, on a misdemeanor charge and released on an unsecured bond

with customary travel restrictions. On May 22, 2023, Lizak entered a plea of guilty to a

misdemeanor charge and is scheduled to be sentenced on October 13, 2023. To date, Lizak has

been fully compliant with the conditions of his release.

        3.       On April 22, 2023, we made application to modify Lizak’s conditions of release so

as to enable him to freely communicate with co-defendant Thomas Carey. This application was

made without objection from the Government, and on May 4, 2023, this Court granted the

application.

        4.       I write to similarly modify Lizak’s conditions of release so as to enable him to

freely communicate with co-defendants Thomas Carey and Joseph Brody, conditioned upon such

communications being unrelated to this case.
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       5.       I have conferred with AUSA Joseph Huynh, who offers his consent to this

application.

       WHEREFORE, it is respectfully requested that the Court grant the requested relief.

Dated: Garden City, New York
       July 14, 2023


                                           Respectfully submitted,

                                           LAW OFFICE OF KEVIN J. KEATING, P.C.


                                           /s/ Kevin J. Keating
                                           By: Kevin J. Keating, Esq.
                                           Pro Hac Vice Counsel for Defendant, Jon Lizak
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                                           Garden City, New York 11530
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To:    AUSA Joseph Huynh




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